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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA

IN THE MATTER OF A COMPLAINT                                  8:21-mj-00055
                                                    Case No. ____________________
REGARDING GABRIEL MICAH STEPHENS




                                     MOTION TO SEAL

       The United States of America, by and through its undersigned Assistant United States

Attorney, hereby moves this Court to seal the documents submitted in support of the complaint,

including the arrest warrant and affidavit. The Court has the inherent authority to seal these

documents. See Baltimore Sun v. Goetz, 886 F. 2d 60 (4th Cir. 1988). The purpose of the

Government’s request is to protect the information contained within these documents, to avoid

the disclosure of the investigation at this time, to protect the destruction of evidence, and to

minimize danger to the public and law enforcement.

       Based on the facts in the affidavit, there is reason to believe that disclosure of the

information included in the affidavit could seriously jeopardize the investigation by giving

targets the opportunity to destroy or tamper with evidence, change patterns of behavior, flee from

prosecution, intimidate cooperating and potential witnesses, and endanger the safety of law

enforcement and other individuals. For these reasons, the Government submits that the interests

in sealing the documents associated with this warrant, outweigh the common-law public right

of access and that sealing is “essential to preserve higher values.” See Media Gen. Operations,

Inc. v. Buchanan, 417 F.3d 424, 429-31 (4th Cir. 2005).

       Based on the foregoing, the Government requests that the documents associated with this

complaint, be filed under seal except that working copies should be made available to the United

States Attorney’s Office, the Department of Justice, and any other law enforcement agency


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designated by the United States Attorney’s Office or the Department of Justice.


                                           Respectfully submitted,

                                           M. RHETT DEHART
                                           ACTING UNITED STATES ATTORNEY


                                         By: s/William J. Watkins, Jr.
                                             William J. Watkins, Jr.
                                             Assistant United States Attorney


June 10, 2021
Greenville, South Carolina




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